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 5
                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WASHINGTON
 6
     UNITED STATES OF AMERICA,                   Case No.: 0-0.'
 7
                  Plaintiff,
 8
                                                 DECLARATION OF
     vs.                                         DOUGLAS MCKINLEY
 9
     $578527(-('$*20(=,
10
                  Defendant
11
                                       DECLARATION
12
                  I am counsel for Arturo Tejeda-Gomez. The attached letters are
13
     true and correct copies of letters written by individuals familiar with Mr. Tejeda-
14
     Gomez.
15
                  I declare under penalty of perjury that the foregoing is true and
16
     correct to the best of my knowledge and belief.
17
                  Dated this 21st day of -DQuary 202.
18
                                                /s Douglas E. McKinley
19
                                                Douglas E. McKinley, WSBA #20806
                                                Attorney for Defendant
20
     DECLARATION OF DOUGLAS MCKINLEY- 1
